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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                  OWENSBORO DIVISION

NANCY MESERVE,                                    Case No: 4:17-CV-00112-JHM-HBB

                 Plaintiff,
                                                  ELECTRONICALLY FILED
v.

CAPITAL ONE BANK (USA), N.A.,

                 Defendants.


                                   ORDER OF DISMISSAL

        Plaintiff, Nancy Meserve (“Plaintiff”), and Defendant, Capital One Bank (USA), N.A.

(“Defendant”), having filed a Joint Stipulation of Dismissal, and the Court being otherwise

sufficiently advised,

        IT IS HEREBY ORDERED that Plaintiff’s claims against Defendant are DISMISSED

with prejudice. Each party shall bear their own costs and attorneys’ fees.




                                                                             July 12, 2018




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